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                                     UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF RHODEISLAND

        UNITED STATES OF AMERICA
                                                          CR No 17‑039 VVIS
                           V


             REYSEAN Vヽ ■LLIAMS



                                       PLEA AGREEMENT
            Pursuantto Rule ll(c)(1)(3)of the Federal Rules of Crimmal PrOcedure′     the

  Umted States and Defendant REYSEAN WILLIAMS′ have reached d■ e followhg

  agreement:

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  which charges Defendant wi■                                                        6て>,
                                                                              ス5f司 ぉ■」          い ''ラ
                               Sex tramckhg of a child′ h viOlauon of18 U S C s 1591(a)(1)′


  (a)(2)′   (b)(2)&(c)(COunt TWO)

                  b.   Defendant further agrees that the time between the filing of this plea

  agreement and the scheduled date for the change of plea is excludable under the speedy

  Trial Ac! 18 U.S.C.    S 3161.



            2.    Government's Obligations. In exchange for Defendant,s pleas of guilty:
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                 a.   The United States and Defendant     will recommend to the Cour!        as a


  reasonable sentence, that Defendant be sentenced to a term of incarceration of 120

  months.

                 b.   For purposes of determining the offense level, the government agrees to

  recommend a two-level reduction in the offense level for acceptance of responsibility

  under $ 3E1.1(a) of the guidelines if Defendant continues to demonstrate acceptance of

  responsi bili ty tfu ou gh sentencing.

                 c.   As of the date of this agreement/ Defendant has timely notified

  authorities of an intention to enter a plea of   guilty. If the offense   level is 16 or greater

  and Defendant enters a plea of guilty pursuant to this agreemen! the government             will

  move the sentencing Court for an additional decrease of one level, pursuant to U.S.S.G.            S


  3E1.1(bX2), unless Defendant indicates an intention not to enter a plea of guilty, thereby

  requiring the government to prepare for trial.
                d. The government is free to recommend any combination of supervised
  release, fines, and restitution which it deems appropriate.

                e.    The government will, at the time of sentencing, move to dismiss Counts

  Three and Four of the Indictment.

                f.    Defendant further agrees to forfeit all intelests in the following property

  which constitute instrumentalities and proceeds of the offense: one Apple iphone            S

  (Model A1633), and $696 in cash. Defendant warrants that Defendant is the sole owner
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  of all of the property listed above, and agrees to hold the United States, its agents, and its

  employees harmless from      aly claims whatsoever in connection with the seizure or

  forfeiture of property covered by this agreement. Defendant further agrees to waive all

  constitutional and statutory challenges in any manner (including direct appeal, habeas

  corpus, or any other means) to any forfeiture carried out in accordance with this plea

  agreement on any grounds, including that the forfeiture constitutes an excessive fine or


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  punishment.                                                                                  rc   -r,.\'r3
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                                                   luidelines are not binding on the Court,

  and that, although the Court must consult the guidelines in fashioning any sentence in

  this case, the guidelines are only advisory, and the Court may impose any reasonable

  sentence in this matter up to the statutory maximum penalties after taking into account

  the factors enumerated in 18 U.S.C. $ 3553(a).

        4.      The United States and defendant stipulate and agree to the following facts

  under the guidelines:

                       a.   The offense involved the use of a computer or an interactive

                computer service, as described in U.S.S.G. g 2G1.3(B)(3);


                       b.   The offense involved the commission of a sex act , or sexual

                contact as described in U.S.S.G.   S   2G1.3(BX4).

        5.      Except as expressly provided in the preceding paragraph, there is no

  agreement as to which offense Level and Criminal History category applies in this case.
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  Both the United States and Defendant reserve their rights to argue and present evidence

  on all matters affecting the guidelines calculation.

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  pleading are:




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                  (ii) Count   Two:   life imprisorLment with a mandatory minimum term of ten

         years; $250,000 fine, lifetime supervised release; $100 special assessment, and

         $5,000   additional special assessment (per 18 U.S.C. S 301a(a)).



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         7.       Defendant agrees that, after Defendant and Defendant's counsel sign this

  plea agreemenf counsel will return it to the United States Attorney's Office along with a

  money order or certified check, payable to the Clerk, United States District Cour! in

  payment of the special assessments. Failure to do so, unless the Court has made a

  previous finding of indigence, will relieve the government of its obligation to
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  recommend a reduction in the offense level under the guidelines for acceptance of

  responsibility.

         8.     Defendant is advised and understands that

                a.   The government has the        righ! in a prosecution for perjury or making   a


  false statement, to use against Defendant any statement that Defendant gives under oath;

                b.   Defendant has the right to plead not guilty, or having already so

  pleaded, to persist in that plea;

                c.   Defendant has the right to a jury hial;

                d.   Defendant has the right to be represented by counsel        - and if necessary

  have the Court appoint counsel      - at trial and every other   stage of the proceeding;

                e.   Defendant has the right at hial to confront and cross-examine adverse

  wibresses, to be protected from self-incrimination, to testify and present evidence, and to

  compel the attendance of wihresses; and

                f.   Defendant waives these trial rights if the Court accepts a plea of guilty.

                C.    Defendant understands that by pleading guilty, defendant will be

  required to register as a sex offender upon his release fiom prison as a condition of

  supervised release pursuant to 18 U.S.C.     S   3583(d). Defendant also understands that

  independent of supervised release, he will be subject to federal arrd state sex offender

  registration requirements, and that those requirements may apply throughout his life.

  Defendant understands that he shall keep his registration curren! shall notify the state
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  sex offender registration agency or agencies of any changes to defendant's name, place        of

  residence, employment or student status, or other relevant     information. Defendant

  shall comply with requirements to periodically    verifi in person his sex offender

  registration information. Defendant understands that he will be subject to possible

  federal and state penalties for failure to comply with any such sex offender registration

  requirements. Defendant further understands that, under       18 U.S.C. $ 0a2(c), notice   will

  be   provided to certain law enforcement agencies upon his release from confinement

  following conviction.

          9.     The government reserves its fuIl right of allocution, including the right to

  present any information to the Court for its consideration in fashioning an appropriate

  sentence, the right to correct misstatements, misrepresentatiors, or omissions by

  Defendant, and to answer any questions asked by the Court.

          10.    Except for paragraphs 2 and 4, above, the parties have made no agreement

  concerning the application of the guidelines in this case.

          11.    Defendant understands that the Court alone makes all sentencing decisions,

  including the application of the guidelines and the sentence to be imposed. The Court is

  not bound by the parties' stipulations of fact, offense level adjustrnents, or the

  government's recommendations. The Court is free to impose any sentence it deems

  appropriate up to and including the statutory maximum. Defendant also understands

  that even if the Court's guideline determinations and sentence are different than
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  Defendant expects, Defendant will not be allowed to withdraw Defendant's plea of

  guilty.

            12.    Defendant hereby waives Defendant's right to appeal the convictions and

  sentences imposed by the Court,     if the sentences imposed by the Court are equal to a

  term of incarceration of 120 months. This agreement does not a{fect the rights or

  obligations of the United States as set forth in 18 U.S.C.     S   3742(b), and the government

  retains its right to appeal any of the Court's sentencing determinations.

            13.    This agreement is binding on the government only if Defendant pleads

  guilty, fulfills all Defendant's obligations under the agreemenf does not engage in any

  conduct constituting obstruction of justice under      S   3C1.1 of the guidelines, and does not

  commit any new offenses. Defendant understands that if Defendant violates this

  agreement in any way, the government shall be released from its obligations under the

  agreement and will be free to make any recommendations that it deems appropriate.                If
  that occurs, Defendant shall not have the right to withdraw Defendant's guilty plea.

            1,4.   This agreement is limited to the District of Rhode Island and does not bind

  any other federal state, or local prosecutive authorities.

            15.    This agreement constitutes the entire agreement between the parties. No

  other promises or inducements have been made concerning the plea in this case.

  Defendant acknowledges that no person has, directly or indirectly, threatened or coerced
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                                                     ′
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     Defendant to enter this agreement. Any additions, deletions, or modifications to this

     agreement must be made in writing and signed by all the parties in order to be effective.

             1,6.      Counsel for Defendant states that Counsel has read this agreement, been

     given   a   copy of it for Counsel's file, explained it to Defendan! and states that to the best

     of Counsel's knowledge and belief, Defendant understands the agreement.

             17.       Defendant states that Defendant has read the agreement or has had it read

     to Defendant, has discussed it with Defendant's Counsel, understands it, and agrees to its

     provisions.




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     Defendant




     J DIXON― ACOSTA                                             Date




     Assistant U.S. Attorney




     SANDRバ HEBERT

     Deputy Chief of the Criminal Division
